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DISCOVERY SPECIAL MASTER




                                       UNITED STATES DISTRICT COURT

                                       CENTRAL DISTRICT OF CALIFORNIA

IN RE: KIA HYUNDAI VEHICLE THEFT                           Case No.: 8:22-ML-03-052-JVS-(KESx)
MARKETING,             SALES PRACTICES, AND                The Honorable    James V. Selna
PRODUCTS LIABILITY LITIGATION

Thisis D. Document t     Relates to:
                       Ketales    10                       DISCOVERY SPECIAL MASTER’S
Governmental Entities Track, and                           STATUS    REPORT     NO. 4 TO THE     COURT

Subrogation Plaintiffs Track.


          The Court appointed the undersigned pursuant to Rule 53 of the Federal Rules of Civil

Procedure as Discovery Special Master for all non-dispositive discovery matters arising in the

Governmental Entities (“GE”) and Subrogation Tracks by order of appointment dated May 15,

2024 (“May 24, 2024 Order’). (Dtk. No. 421.)             Under Section I.C. of the May 15, 2024 Order,

the Special Master is charged with providing “a brief written status report to the Court, with

notice to the Parties” within sixty (60) days of the issuance of this Order, and every sixty (60)

days thereafter.” (7d. 3:15-18.)          The Special Master hereby provides the following Status Report

No. 4 to the Court within sixty days of its prior October 1, 2024, Status Report No. 3.

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        I.     OCTOBER 28, 2024 INFORMAL DISCOVERY CONFERENCE

        An Informal Discovery Conference was held via Zoom on October 28, 2024, in the

Governmental Entities (“GE”) Track, but the Subrogation Track was permitted to attend.      The

focus of the conference was a discovery dispute in the GE Track over the scope of topics in the

October 18, 2024, Notices of 30(b)(6) Depositions served by Defendants Hyundai Motor

America (“HMA”) and KIA America, Inc. (“KA”’) in the GE Track.         The primary objections

raised by the GE Plaintiffs to the topics in the Notices were that the topics were overbroad and

not confined to the structural and foundational discovery as delineated in the CMO at Dkt. No.

370. With the undersigned’s assistance, the parties agreed at the Discovery Conference to limit

the topics for the GE Plaintiffs 30(b)(6) depositions notices to those outlined in the CMO Dkt.

No. 370. The undersigned’s guidance was intended to ensure the parties’ deposition topics are

within the spirit of and consistent with the CMO’s underlying purpose.




        Il.    NOVEMBER        15, 2024 EMERGENCY DISCOVERY CONFERENCE

        An Emergency Discovery Conference was held via Zoom on Friday, November 15, 2024]

in the GE Track, but the Subrogation Track was permitted to and did attend.    The focus of the

Emergency Conference was a discovery dispute over the Amended 30(b)(6) Deposition Notices

(“Amended Notices”) served by GE Defendants for four GE Plaintiffs, with the first deposition

set to commence in three calendar days from the conference — to wit, on Monday, November 18,

2024.

        Following a review of the Joint Letter Brief and oral argument, on November     15, 2024,

the Discovery Special Master issued a Report and Recommendation on the scope of Topics 8 and

10 in Rule 30(b)(6) Amended Notices.     As to Topic 8, the Discovery Special Master was not

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persuaded by the objections raised by GE Plaintiffs that it was overly broad, sought legal

conclusions, or called for expert testimony.   Therefore, the Discovery Special Master

recommended that GE Plaintiffs’ objections to Topic 8 in the Amended Notices be overruled.

As to Topic 10, the Discovery Special Master found GE Plaintiffs’ objections to Topic 10 well-

founded and recommended that they be sustained on the grounds that the disputed language of

“including Your efforts to mitigate, remediate, or abate the alleged nuisance” impermissibly

sought legal conclusions and expert testimony.




       I.      NOVEMBER        18, 2024 INFORMAL DISCOVERY CONFERENCE

       An Informal Discovery Conference was held via Zoom on November 18, 2024, in the GE

Track, but the Subrogation Track was permitted to and did attend.    The focus of the conference

was the scheduling of discovery motions in the GE Track.

       On November 8, 2024, GE Defendants filed a Motion to Compel the GE Plaintiffs to cure

Plaintiffs Fact Sheet (“PFS”) deficiencies. The Motion to Compel seeks further responses to the

PFS and related document productions as follows: (1) responses to the questions pertaining to

“other crimes” (PFS Question No. 36); (2) responses to questions pertaining to auto theft data

and information concerning the specific departments, divisions, and units GE Plaintiffs allege to

be relevant to this action and/or impacted by Defendants’ alleged conduct (PFS Question Nos.

10, 11, 12, 15, 16, 17, 20, 21, 22,25, 26, 27, 30, 31, 32, 35, and 36); and (3) document

management systems (PFS Questions Nos.13, 18, 23, 28, and 33).

       At the Informal Discovery Conference, the parties agreed, and the undersigned ordered

that the Opposition to the Motion to Compel PFS is due by December 9, 2024, and the Reply is

due by December 12, 2024, by 4:00 p.m. PST.       The page limit for the Opposition is 15 pages to

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coincide with the page limit on the Motion, and the page limit for the Reply is 10 pages.      The

Motion to Compel PFS hearing is set for December 16, 2024, at 12:15 p.m. via Zoom.

       On November 11, 2024, GE Defendants also filed a Motion for Protective Order re

Subpoenas to Hyundai Motor Company (“HMC”) and Kia Corporation (“KC’’), the non-party,

foreign corporations referred to as parent companies of HMA and KA on the grounds they suffer

from procedural, substantive and jurisdictional infirmities.    The parties advised the Discovery

Special Master that they agreed upon the dates of January 15 and 17, 2025, for these depositions

to be conducted in Seoul, Korea, subject to the resolution of the Motion for Protective Order.

       At the Informal Discovery Conference, the parties agreed, and the undersigned ordered

that the Opposition to the Motion for Protective Order re Subpoenas 1s due by December 9, 2024

and the Reply is due by December 12, 2024, by 4:00 p.m. PST.        The page limit for the Motion

and Opposition 1s 15 pages, and the page limit for the Reply is 10 pages.     The Motion for

Protective Order hearing is set for December 18, 2024, at 12:15 p.m. via Zoom.

       The Discovery Special Master also set a Subrogation Track Informal Discovery

Conference for December 2, 2024, at 12:15 p.m. via Zoom with an agenda to be filed by the

parties before the Informal Discovery Conference.




       IV.        NOVEMBER       19, 2024 INFORMAL DISCOVERY CONFERENCE

       An Informal Discovery Conference was held via Zoom on November 19, 2024, in the GE

Track, but the Subrogation Track was permitted to and did attend.      The focus of the conference

was as follows:    (1) Dates for 30(b)(6) Depositions of remaining 8 GE Plaintiffs; (2) GE

Plaintiffs’ request that GE Defendants re-issue Amended Depositions Notices that reflect the

Discovery Special Master’s Report and Recommendation regarding pending depositions; (3) GE

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Plaintiffs’ Objections to GE Defendants’ Rule 30(b)(6) Deposition Notices; and (4) setting a

briefing schedule for GE Plaintiffs’ Motion to Compel on Defendants’ Fact Sheets (“DFS”).

       With respect to setting dates for the remaining GE Plaintiffs’ depositions, counsel for GE

Plaintiffs from Keller Rohrback advised that her target was to get back to counsel with proposed

dates for her clients was Tuesday, November 26, 2024.

       With respect to GE Plaintiffs’ request that Defendants re-issue Amended Depositions

Notices that reflect the Discovery Special Master’s Report and Recommendation regarding

pending depositions, with the undersigned’s guidance, the parties agreed to interlineate the

current deposition notices on the record at the time of the deposition to reflect the instructions in

the Report and Recommendation.

       With respect to GE Plaintiffs’ Objections to GE Defendants’ Rule 30(b)(6) Deposition

Notices, GE Defendants advised it was their position that the objections from GE Plaintiffs are

improper because they need to file a motion for protective order.    The Discovery Special Master

noted and confirmed that GE Plaintiffs’ objections following the Report and Recommendation

were in the nature of “belt and suspenders” to preserve rights.

       Finally, the parties agreed, and the undersigned ordered that the GE Plaintiffs will file

their Motion to Compel DFS on November 26, 2024.         The Opposition is due by December 30,

2024, and the Reply is due by January 7, 2024, by 4:00 p.m. PST.      The page limit for the Motion

and Opposition is 10 pages, and the page limit for the Reply is 5 pages.    The Motion to Compel

DFS hearing is set for January 14, 2024, at 8:00 a.m. via Zoom.

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       GE Plaintiffs’ counsel stated that their target is to provide supplemental responses to the

PFS is Tuesday, November 26, 2025.




DATED: November 20, 2024



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                                                  Hon. Gail Andler (Ret.)
                                                  Discovery Special Master




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